                                                            Jun 16, 2020

                                                          s/ JeremyHeacox




                                             20-M-322 (SCD)




6-16-20




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   AFFIDAVIT IN SUPPORT OF AN APPLICATION UNDER RULE 41 FOR A
                  WARRANT TO SEARCH AND SEIZE

       I, Kathrine L. Kelley, being first duly sworn, hereby depose and state as

follows:

                  INTRODUCTION AND AGENT BACKGROUND

      1.       I make this affidavit in support of an application under Rule 41 of the

Federal Rules of Criminal Procedure for a search warrant authorizing the

examination of property— two electronic devices —which are currently in law

enforcement possession, and the extraction from that property of electronically

stored information described in Attachment B.

      2.       I am a Special Agent with the FBI and have been since May of 2019. I

have been assigned to the Southeastern Wisconsin Regional Gang Task Force since

October of 2019. Prior to being employed as a Special Agent with the FBI, I was

employed as a Staff Operations Specialist for the FBI for approximately nine years.

I am an investigator or law enforcement officer of the United States within the

meaning of 18 U.S.C. Section 2510(7), in that I am empowered by the law to conduct

investigations of and to make arrests for federal felony arrests.

      3.       As a Special Agent, I have participated in the investigation of

narcotics-related offenses, resulting in the seizure of illegal drugs, weapons, United

States currency, and other evidence of criminal activity. As a narcotics investigator,

I have interviewed individuals involved in drug trafficking and have obtained


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information from them regarding acquisition, sale, importation, manufacture, and

distribution of controlled substances. Through my training and experience, I am

familiar with the actions, habits, traits, methods, and terminology utilized by the

traffickers and abusers of controlled substances. I have participated in several

aspects of drug investigations, including physical surveillance, execution of search

warrants, undercover operations, court-ordered wiretaps, analysis of phone and

financial records, and the arrests of numerous drug traffickers. Additionally, I have

spoken with other experienced narcotics investigators on numerous occasions

concerning the method and practices of drug traffickers and money launderers.

Through these investigations, my training and experience, and conversations with

other law enforcement personnel, I have become familiar with the methods used by

drug traffickers to manufacture, smuggle, safeguard, and distribute narcotics, and

to collect and launder trafficking-derived proceeds. I am further aware of the

methods employed by major narcotics organizations to thwart any investigation of

their illegal activities. I know that drug traffickers commonly have in their

possession, and at their residences and other locations where they exercise

dominion and control, firearms, ammunition, and records or receipts pertaining to

such.

        4.   I have participated in several trafficking investigations that involved

the seizure of computers, cellular phones, cameras, and other digital storage

devices, and the subsequent analysis of electronic data stored within these

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computers, cellular phones, cameras, and other digital storage devices. On many

occasions, this electronic data has provided evidence of the crimes being

investigated and corroborated information already known or suspected by law

enforcement.

      5.       The facts in this affidavit come my personal observations, my training

and experience, my review of documents, and information obtained from other law

enforcement agents and witnesses. This affidavit is intended to show merely that

there is probable cause for the requested warrant and does not set forth all of my

knowledge about this matter.

      IDENTIFICATION OF THE DEVICES TO BE EXAMINED

      6.       The property to be searched is described as follows:

               a.    Black Samsung smartphone, hereinafter referred to as “Device

A”;

               b.    Black Samsung Galaxy S8 smartphone, hereinafter referred to

as “Device B”;

      7.       Devices A and B, collectively the “Devices,” are currently located at

2620 West Wisconsin Avenue, Milwaukee, Wisconsin.

      8.       The applied-for warrant would authorize the forensic examination of

the Devices for the purpose of identifying electronically stored data more

particularly described in Attachment B.



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                                PROBABLE CAUSE

      9.     On February 4, 2020, at approximately 4:15 p.m., law enforcement

officers saw a suspected drug transaction in the Wendy’s parking lot, located at

4601 W. North Avenue in Milwaukee, Wisconsin. Specifically, officers conducting

surveillance at this location in an undercover capacity observed a volkswaegn Jetta

running and parked in the Wendy’s parking lot. Officers parked alongside the Jetta

and observed an occupant, later determined to be A.B., in the vehicle. A.B. was not

eating and did not have a food bag on the front seat of A.B.’s vehicle.

Approximately, five minutes later, officers observed a Chevrolet Equinox, bearing

Wisconsin registration plate 559-HBV, with excessive window tint, arrive in the

Wendy’s parking lot and park next to the Jetta. A.B. then exited the Jetta and

entered the front passenger door of the Chevrolet. Officers at the scene believed

that this transaction was consistent with a drug transaction.

      10.    At approximately 4:28 p.m., uniformed police officers conducted a

traffic stop on the black Chevrolet Equinox for the above-described suspected drug

transaction and for the vehicle having illegally tinted windows. The driver was

identified as Fabian Johnson, and the passenger was identified as A.B. Upon a

search of the vehicle, officers found a jar containing seven baggies of marijuana

weighing a total of 22.26 grams and 30 baggies of crack cocaine weighing a total of

1.86 grams, and $40 in two twenty dollar bill denominations in the center console



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cup holder. Devices A and B were also found in the center consule cup

compartment of the vehicle.

       11.    After being advised of her constitutional rights, A.B. consented to a

search of her cellular phone, and officers found text messages between her and

phone number (414) 659-7430, listed in A.B.’s contact as “BAC FABIAN,” who

officers believe to be Fabian Johnson. On February 4, 2020, at 1:06 p.m., Johnson

wrote to A.B., “Don’t surprise me, just call when you’re heading this way.” A.B.

responded at 3:14 p.m., “If you tell me where to meet you I can put it in my GPS

and give you an exact time . . .” At 3:42 p.m., Johnson replied, “Wendys, right off of

Lisbon and North Avenue. Right off of the highway.” A.B. then texted at 3:44 p.m.,

“Gps says I be there 4:20.” Johnson replied, I only got the $40 kind left.”

       12.    Upon seeing these text messages between “BAC FABIAN” and A.B.,

officers dialed the phone number (414) 659-7430, and Device B began to ring.

       13.    Johnson was arrested and conveyed to the police station. On the floor

of the vehicle near where Johnson was seated in the police vehicle, officers located

two small corner cut backs of suspected crack cocaine, totaling 0.39 grams.1

       14.    After Johnson’s arrest, officers went to Johnson’s residence, located at

2026 N. 39th Street in Milwaukee, Wisconsin and spoke to Ermamarie Jenkins,




1The crack cocaine found in Johnson’s vehicle and the squad vehicle also field tested
positive for fentanyl.

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who lives in the residence with Johnson. Jenkins admitted that she had a firearm

in a backpack in her bedroom and a gram of “weed” in the residence. Jenkins

refused to give officers consent to search the residence, so officers secured the

residence and obtained a search warrant.

      15.    After obtaining the search warrant, officers asked Jenkins where her

firearm was located. Jenkins told the officers that her firearm was located in a

backpack in a bedroom she shared with Johnson. Jenkins admitted that she bought

a Smith and Wesson .380 caliber firearm two to three years ago at Gander

Mountain. Jenkins said that this was the only firearm in the residence and there

was a box of ammunition in the dresser.

      16.    Officers then searched the residence pursuant to the warrant. In the

dining room, officers located identifiers for Fabian Johnson and a Smith and

Wesson gun box with a receipt for Ermamarie Jenkins.

      17.    Officers located various items of evidentiary value in the master

bedroom. Officers located a loaded Smith and Wesson, model SD40VE, .40 caliber

pistol and two extra loaded Smith and Wesson magazines between the mattress and

box spring. Within the nightstand on which identifiers for Johnson were located,

officers found razor blades, a digital scale, a clear plastic Tupperware container

with suspected marijuana residue, a box of sandwich bags on the nightstand, and a

box of ammunition containing 23 cartridges. Located on the floor of the bedroom

was a clear glass jar containing 11.21 grams of marijuana. Located in one of the

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dressers, containing male clothing and a white powdery substance that did not test

postivie during narcotics testing, was a “skeleton” key that opened the locked closet

in the master bedroom. Inside the closet, officers officers found a jar containing

23.45 grams of crack cocaine (packaged within four baggies and one baggie had 37

corner cuts in it) and 3.08 grams of heroin 2 (packaged in two baggies); a jar

containing 223.90 grams of marijuana; a jar containing four corner cuts of 17.84

grams of marijuana; a box containing four jars of marijuana weighing a total of

76.82 grams; clothing for Johnson and Jenkins; numerous loaded firearm

magazines and multiple rounds of ammunition; and a Smith and Wesson firearm

box. Officers located a Smith and Wesson, model Bodyguard, .380 caliber handgun

with a loaded magazine in a bag next to another dresser, which contined a box of

ammuuntion containing 88 cartridges.

         18.     A total amount of 329.77 grams of marijuana, 23.45 grams of crack

cocaine, and 3.08 grams of heroin was located within Johnson’s residence.

         19.     Johnson has prior felony convictions of possession with intent to

deliver cocaine and two cases of felon in possession of a firearm.

         20.     Affiant knows that Johnson used Device B to sell cocaine to A.B.

Furthermore, affiant believes that Johnson used his cell phones to facilitate




2   The heroin found in the closet of Johnson’s residence also field tested positive for fentanyl.

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controlled substances transactions, and evidence of drug trafficking may likely be

stored and recorded on the Devices.

      21.    Through affiant’s training, experience and discussions with other

experienced law enforcement officers, affiant is familiar with the ways in which

drug traffickers conduct their unlawful trade, including their methods of

distribution, their use of communication devices, their use of coded communications

to conduct their transactions, the employment of counter surveillance, their use of

false or fictitious identities, and their use of various forms of electronic devices to

store and/or conceal illegal activity.

      22.    Based upon my training and experience, affiant knows that individuals

involved in drug trafficking frequently use cellular telephones to maintain contact

and arrange transactions with their sources and customers of and co-conspirators in

the distribution of controlled substances. Affiant has also found it very common for

crime suspects to use their cellular telephones to communicate aurally or via

electronic message in “text” format with individuals whom they purchase, trade, or

otherwise negotiate to obtain illegal drugs.

      23.    Based on my training and experience, affiant is aware that individuals

involved in trafficking controlled substances often possess multiple cellular devices

to compartmentalize their illegal activity and to avoid law enforcement detection.

      24.    Based upon my training and experience, affiant believes it is common

for crime suspects who possess illegal controlled substances and firearms to often

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take or cause to be taken photographs and other visual depictions of themselves,

their associates, and the illegal controlled substances and firearms that they

control, possess, buy, and sell; furthermore, affiant believes it is common for these

photographs and visual depictions to be kept and maintained on their cellular

devices.

      25.    Based upon the facts described above, to include (1) my knowledge of

and experience confirming the prolific use of electronic devices to facilitate the

possession and trafficking of controlled substances and firearms; (2) that controlled

substances were located in Johnson’s vehicle and residence and a loaded pistol,

magazines, and drug paraphernalia were found in Johnson’s residence; (3) Johnson

used Device B to conduct a drug transaction with A.B.; and (4) Johnson’s status as

a convicted felon, there is probable cause to believe that a search of the information

contained within the above described Devices will produce evidence of a crime,

namely evidence related to the possession of firearms and possession and trafficking

of controlled substances.

      26.    Devices A and B were seized by the Milwaukee Police Department

Officers during a search of Johnson’s vehicle.

      27.    The Devices are currently in storage at 2620 West Wisconsin Avenue,

Milwaukee, Wisconsin. In my training and experience, I know that the Devices

have been stored in a manner in which their contents are, to the extent material to



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this investigation, in substantially the same state as it was when the Devices first

came into the possession of the Milwaukee Police Department.

III.   TECHNICAL TERMS

       28.      Based on my training and experience, I use the following technical

terms to convey the following meanings:

             a. Wireless telephone: A wireless telephone (or mobile telephone, or
                cellular telephone) is a handheld wireless device used for voice and
                data communication through radio signals. These telephones send
                signals through networks of transmitter/receivers, enabling
                communication with other wireless telephones or traditional “land
                line” telephones. A wireless telephone usually contains a “call log,”
                which records the telephone number, date, and time of calls made to
                and from the phone. In addition to enabling voice communications,
                wireless telephones offer a broad range of capabilities. These
                capabilities include: storing names and phone numbers in electronic
                “address books;” sending, receiving, and storing text messages and e-
                mail; taking, sending, receiving, and storing still photographs and
                moving video; storing and playing back audio files; storing dates,
                appointments, and other information on personal calendars; and
                accessing and downloading information from the Internet. Wireless
                telephones may also include global positioning system (“GPS”)
                technology for determining the location of the device.

             b. Digital camera: A digital camera is a camera that records pictures as
                digital picture files, rather than by using photographic film. Digital
                cameras use a variety of fixed and removable storage media to store
                their recorded images. Images can usually be retrieved by connecting
                the camera to a computer or by connecting the removable storage
                medium to a separate reader. Removable storage media include
                various types of flash memory cards or miniature hard drives. Most
                digital cameras also include a screen for viewing the stored images.
                This storage media can contain any digital data, including data
                unrelated to photographs or videos.
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 c. Portable media player: A portable media player (or “MP3 Player” or
    iPod) is a handheld digital storage device designed primarily to store
    and play audio, video, or photographic files. However, a portable
    media player can also store other digital data. Some portable media
    players can use removable storage media. Removable storage media
    include various types of flash memory cards or miniature hard drives.
    This removable storage media can also store any digital data.
    Depending on the model, a portable media player may have the ability
    to store very large amounts of electronic data and may offer additional
    features such as a calendar, contact list, clock, or games.

 d. GPS: A GPS navigation device uses the Global Positioning System to
    display its current location. It often contains records the locations
    where it has been. Some GPS navigation devices can give a user
    driving or walking directions to another location. These devices can
    contain records of the addresses or locations involved in such
    navigation. The Global Positioning System (generally abbreviated
    “GPS”) consists of 24 NAVSTAR satellites orbiting the Earth. Each
    satellite contains an extremely accurate clock. Each satellite
    repeatedly transmits by radio a mathematical representation of the
    current time, combined with a special sequence of numbers. These
    signals are sent by radio, using specifications that are publicly
    available. A GPS antenna on Earth can receive those signals. When a
    GPS antenna receives signals from at least four satellites, a computer
    connected to that antenna can mathematically calculate the antenna’s
    latitude, longitude, and sometimes altitude with a high level of
    precision.

 e. PDA: A personal digital assistant, or PDA, is a handheld electronic
    device used for storing data (such as names, addresses, appointments
    or notes) and utilizing computer programs. Some PDAs also function
    as wireless communication devices and are used to access the Internet
    and send and receive e-mail. PDAs usually include a memory card or
    other removable storage media for storing data and a keyboard and/or
    touch screen for entering data. Removable storage media include
    various types of flash memory cards or miniature hard drives. This
    removable storage media can store any digital data. Most PDAs run
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               computer software, giving them many of the same capabilities as
               personal computers. For example, PDA users can work with word-
               processing documents, spreadsheets, and presentations. PDAs may
               also include global positioning system (“GPS”) technology for
               determining the location of the device.

            f. Tablet: A tablet is a mobile computer, typically larger than a phone
               yet smaller than a notebook, that is primarily operated by touching the
               screen. Tablets function as wireless communication devices and can be
               used to access the Internet through cellular networks, 802.11 “wi-fi”
               networks, or otherwise. Tablets typically contain programs called
               apps, which, like programs on a personal computer, perform different
               functions and save data associated with those functions. Apps can, for
               example, permit accessing the Web, sending and receiving e-mail, and
               participating in Internet social networks.

            g. IP Address: An Internet Protocol address (or simply “IP address”) is a
               unique numeric address used by computers on the Internet. An IP
               address is a series of four numbers, each in the range 0-255, separated
               by periods (e.g., 121.56.97.178). Every computer attached to the
               Internet computer must be assigned an IP address so that Internet
               traffic sent from and directed to that computer may be directed
               properly from its source to its destination. Most Internet service
               providers control a range of IP addresses. Some computers have
               static—that is, long-term—IP addresses, while other computers have
               dynamic—that is, frequently changed—IP addresses.

            h. Internet: The Internet is a global network of computers and other
               electronic devices that communicate with each other. Due to the
               structure of the Internet, connections between devices on the Internet
               often cross state and international borders, even when the devices
               communicating with each other are in the same state.

      29.      Based on my training, experience, and research, I know that the

Devices have the capabilities that allow them to serve as a wireless telephone,

digital camera, portable media player, GPS navigation device, and PDA, and all
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have the ability to access the internet. In my training and experience, examining

data stored on devices of this type can uncover, among other things, evidence that

reveals or suggests who possessed or used the devices.

IV.    ELECTRONIC STORAGE AND FORENSIC ANALYSIS

      30.      Based on my knowledge, training, and experience, I know that

electronic devices can store information for long periods of time. Similarly, things

that have been viewed via the Internet are typically stored for some period of time

on the device. This information can sometimes be recovered with forensics tools.

      31.      Forensic evidence. As further described in Attachment B, this

application seeks permission to locate not only electronically stored information

that might serve as direct evidence of the crimes described on the warrant, but also

forensic evidence that establishes how the Devices were used, the purpose of their

use, who used them, and when. There is probable cause to believe that this forensic

electronic evidence might be on the Devices because:

            i. Data on the storage medium can provide evidence of a file that was
               once on the storage medium but has since been deleted or edited, or of
               a deleted portion of a file (such as a paragraph that has been deleted
               from a word processing file).

            j. Forensic evidence on a device can also indicate who has used or
               controlled the device. This “user attribution” evidence is analogous to
               the search for “indicia of occupancy” while executing a search warrant
               at a residence.

            k. A person with appropriate familiarity with how an electronic device
               works may, after examining this forensic evidence in its proper

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               context, be able to draw conclusions about how electronic devices were
               used, the purpose of their use, who used them, and when.

            l. The process of identifying the exact electronically stored information
               on a storage medium that are necessary to draw an accurate
               conclusion is a dynamic process. Electronic evidence is not always
               data that can be merely reviewed by a review team and passed along to
               investigators. Whether data stored on a computer is evidence may
               depend on other information stored on the computer and the
               application of knowledge about how a computer behaves. Therefore,
               contextual information necessary to understand other evidence also
               falls within the scope of the warrant.

            m. Further, in finding evidence of how a device was used, the purpose of
               its use, who used it, and when, sometimes it is necessary to establish
               that a particular thing is not present on a storage medium.

      32.      Nature of examination. Based on the foregoing, and consistent with

Rule 41(e)(2)(B), the warrant I am applying for would permit the examination of the

Devices consistent with the warrant. The examination may require authorities to

employ techniques, including but not limited to computer-assisted scans of the

entire medium, that might expose many parts of the Devices to human inspection

in order to determine whether it is evidence described by the warrant.

      33.      Manner of execution. Because this warrant seeks only permission to

examine devices already in law enforcement’s possession, the execution of this

warrant does not involve the physical intrusion onto a premises. Consequently, I

submit there is reasonable cause for the Court to authorize execution of the warrant

at any time in the day or night.



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                                 CONCLUSION

      34.   I submit that this affidavit supports probable cause for a search

warrant authorizing the examination of the Devices described in Attachment A to

seek the items described in Attachment B.




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                                ATTACHMENT A


      1.     The property to be searched is described as follows:

             a.    Black Samsung smartphone, hereinafter referred to as “Device

A” and

             b.    Black Samsung Galaxy S8 smartphone, hereinafter referred to

as “Device B.”

      2.     Devices A and B, collectively the “Devices,” are currently located at

2620 West Wisconsin Avenue, Milwaukee, Wisconsin.

      This warrant authorizes the forensic examination of the Devices for the

purpose of identifying the electronically stored information described in Attachment

B.




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                                  ATTACHMENT B

      1.      All records on the Devices described in Attachment A that relate to

violations of Title 18, United States Code, Sections 922(g)(1), 924(a), 924(c); and

Title 21, United States Code, Section 841(a)(1), and involve Fabian Johnson,

including, but not limited to:

           a. lists of customers and related identifying information;

           b. types, amounts, and prices of drugs trafficked as well as dates, places,
              and amounts of specific transactions;

           c. any information related to sources of firearms and drugs and co-
              conspirators (including names, addresses, phone numbers, or any other
              identifying information);

           d. any information recording schedule or travel;

           e. all bank records, checks, credit card bills, account information, and
              other financial records;

           f. Photographs and/or videos depicting possesson of drugs or firearms;

           g. Any evidence related to either the ownership, purchase, or possession
              of drugs or firearms; and

           h. Records of Internet activity, including browser history, search terms
              that the user entered into any Internet search engine, and records of
              user-typed web addresses

      2.      Evidence of user attribution showing who used or owned the Devices

at the time the things described in this warrant were created, edited, or deleted,

such as logs, phonebooks, saved usernames and passwords, documents, and

browsing history.


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        As used above, the terms “records” and “information” include all of the

foregoing items of evidence in whatever form and by whatever means they may

have been created or stored, including any form of computer or electronic storage

(such as flash memory or other media that can store data) and any photographic

form.

        This warrant authorizes a review of electronic storage media and

electronically stored information seized or copied pursuant to this warrant in order

to locate evidence, fruits, and instrumentalities described in this warrant. The

review of this electronic data may be conducted by any government personnel

assisting in the investigation, who may include, in addition to law enforcement

officers and agents, attorneys for the government, attorney support staff, and

technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of

the seized or copied electronic data to the custody and control of attorneys for the

government and their support staff for their independent review.




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